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                                                               E-FILED
                                      Monday, 08 July, 2019 08:32:57 AM
                                          Clerk, U.S. District Court, ILCD
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s/ Devin Seats



   s/ Jeremy C. Tyrrell
                                               7/8/2019
 Jeremy C. Tyrrell, #6321649




 jtyrrell@atg.state.il.us
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

DEVIN SEATS, #R-65374,                       )
                                             )
                      Plaintiff,             )
                                             )
       -vs-                                  )              Case No. 16-1381-SLD
                                             )
SUSAN PRENTICE, et al.,                      )
                                             )
                      Defendants.            )

                                   CERTIFICATE OF SERVICE

      Jeremy C. Tyrrell, Assistant Attorney General, herein certifies that the foregoing
document, Stipulation to Dismiss, has been served upon:

                                     Devin Seats, #R-65374
                                    Menard Correctional Center
                                         P.O. Box 1000
                                     Menard, Illinois 62259

and I hereby certify that on July 8, 2019, I caused a copy of the foregoing described document to
be mailed by United States Postal Service, in an envelope properly addressed and fully prepaid, to
the following non-registered participant:


                                             Respectfully submitted,


                                             By     s/ Jeremy C. Tyrrell
                                                  Jeremy C. Tyrrell
                                                  Assistant Attorney General




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